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 7                                                                             Ifa l^Cvs
 8
                              UNITED STATES DISTRICT COURT
 9                                                                                    !
                             SOUTHERN DISTRICT 0!       CALIFORNIA
10
                                    January 2016 Grand Jury
11
                                                          ’16 GR 2 8 56 JAM
12   UNITED STATES OF AMERICA,                Case No.

                         Plaintiff,                                                   !
13

14         v.
                                              I N
                                                    A   I C T M E N T
                                              Title 18, U.S.C., Sec. 1038(a)(1)
                                              False Information and Hoaxes
15   ROBERTO RUBIO,

16                       Defendant.

17

18        The grand jury charges:

19        On or about September 24,         2016, within the Southern District of

20   California,   defendant ROBERTO RUBIO intentionally conveyed false and

21   misleading information, to wit, defendant ROBERTO RUBIO wrote "9-24-16

22   400 BOMB" on the interior wall onboard USS Cowpens, docked at Naval Base

23   San Diego,    under circumstances where such information may reasonably

24   have been believed and where such information indicated that an activity

25   had taken,    was    taking,    and would take place       that would constitute

26   violations of Title 18,         Chapters 4 0 and 113B,     to wit: destruction of

27   United States property by means of an explosive in violation of Title 18,

28   United States Code, Section 844 (f) (1), and use and threatened use of a

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 1   weapon of mass destruction against United States property in violation

 2   of Title 18, United States Code, Section 2332a(a)(3); all in violation

 3   of Title 18, United States Code, Section 1038(a)(1).

 4           DATED:    December 7, 2016.

 5                                                    A TRUE BILL:

 6                                                        (n
 7
                                                      Foreperson-...
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 9   LAURA E. DUFFY
     United States Attorney
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12   By:
             MICHELLE M. PETTIT
13           Assistant U.S. Attorney

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